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                               UNITED STATES DISTRICT COURT
                               SOUTHERN DISTRICT OF FLORIDA

                               Case No. 18-cv-80911-BLOOM/Reinhart

   JERRY EISENBAND, individually
   and on behalf of all others similarly situated,

                  Plaintiff,

   v.

   SCHUMACHER AUTOMOTIVE, INC.,

                  Defendant.
                                                     /

        ORDER PRELIMINARILY APPROVING CLASS ACTION SETTLEMENT AND
                     CERTIFYING THE SETTLEMENT CLASS

          Plaintiff Jerry Eisenband (“Plaintiff”) and Defendant Schumacher Automotive, Inc.

  (“Defendant”) (together, the “Parties”) have agreed to settle this Action pursuant to the terms and

  conditions set forth in an executed Settlement Agreement and Release (“Settlement”). The Parties

  reached the Settlement through arm’s-length negotiations with the help of experienced mediator,

  Steven Jaffe, Esquire. Under the Settlement, subject to the terms and conditions therein and

  subject to Court approval, Plaintiff and the proposed Settlement Class will fully, finally, and

  forever resolve, discharge, and release their claims.

          The Settlement has been filed with the Court, and Plaintiff and Class Counsel have filed

  an Unopposed Motion for Preliminary Approval of Class Settlement (“Motion”). ECF No. [36]

  Upon considering the Motion, the Settlement and all exhibits thereto, the record in these

  proceedings, the representations and recommendations of counsel, and the requirements of law,

  the Court finds that: (1) this Court has jurisdiction over the subject matter and the Parties to this

  Action; (2) the proposed Settlement Class meets the requirements of Federal Rule of Civil
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  Procedure 23 and should be certified for settlement purposes only; (3) the persons and entities

  identified below should be appointed Class Representative and Class Counsel; (4) the Settlement

  is the result of informed, good-faith, arm’s-length negotiations between the Parties and their

  capable and experienced counsel, and is not the result of collusion; (5) the Settlement is within the

  range of reasonableness and should be preliminarily approved; (6) the proposed Notice program

  and proposed forms of Notice satisfy Federal Rule of Civil Procedure 23 and constitutional due

  process requirements, and are reasonably calculated under the circumstances to apprise the

  Settlement Class of the pendency of the Action, class certification, the terms of the Settlement,

  Class Counsel’s application for an award of attorneys’ fees and expenses (“Fee Application”) and

  request for a Service Award for Plaintiff, and their rights to opt-out of the Settlement Class or

  object to the Settlement, Class Counsel’s Fee Application, and/or the request for a Service Award

  for Plaintiff; (7) good cause exists to schedule and conduct a Final Approval Hearing, pursuant to

  Federal Rule of Civil Procedure 23(e), to assist the Court in determining whether to grant Final

  Approval of the Settlement and enter the Final Approval Order, and whether to grant Class

  Counsel’s Fee Application and request for a Service Award for Plaintiff; and (8) the other related

  matters pertinent to the Preliminary Approval of the Settlement should also be approved.

         Based on the foregoing, it is ORDERED AND ADJUDGED as follows:

         1.      As used in this Preliminary Approval Order, unless otherwise noted, capitalized

  terms shall have the definitions and meanings accorded to them in the Settlement.

         2.      The Court has jurisdiction over the subject matter and Parties to this proceeding

  pursuant to 28 U.S.C. §§ 1331, 1332.

         3.      Venue is proper in this District.




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  Provisional Class Certification and Appointment of Class Representative and Class Counsel

         4.         It is well established that “[a] class may be certified solely for purposes of

  settlement [if] a settlement is reached before a litigated determination of the class certification

  issue.” Borcea v. Carnival Corp., 238 F.R.D. 664, 671 (S.D. Fla. 2006) (internal quotation marks

  omitted). In deciding whether to provisionally certify a settlement class, a court must consider the

  same factors that it would consider in connection with a proposed litigation class – i.e., all Rule

  23(a) factors and at least one subsection of Rule 23(b) must be satisfied – except that the Court

  need not consider the manageability of a potential trial, since the settlement, if approved, would

  obviate the need for a trial. Id.; Amchem Products, Inc. v. Windsor, 521 U.S. 591, 620 (1997).

         5.         The Court finds, for settlement purposes, that the Federal Rule of Civil Procedure

  23 factors are present and that certification of the proposed Settlement Class is appropriate under

  Rule 23. The Court therefore provisionally certifies the following Settlement Class.

         All individuals residing in the United States (i) who were sent a text message (ii)
         on his or her cellular telephone (iii) by or on behalf of Schumacher Automotive,
         Inc. (iv) from July 11, 2014 through the date of certification. Excluded from the
         Settlement Class are: (i) the district judge and magistrate judge presiding over this
         case, the judges of the U.S. Court of Appeals for the Eleventh Circuit, their spouses,
         and persons within the third degree of relationship to either of them; (2) individuals
         who are or were during the Class Period agents, directors, employees, officers, or
         servants of Schumacher or of any affiliate or parent of Schumacher; (3) Plaintiff’s
         counsel and their employees, and (4) all persons who file a timely and proper
         request to be excluded from the Settlement Class.

         6.         Specifically, the Court finds, for settlement purposes and conditioned on final

  certification of the proposed class and on the entry of the Final Approval Order, that the Settlement

  Class satisfies the following factors of Federal Rule of Civil Procedure 23:

              (a)          Numerosity: In the Action, over 32,581 individuals are members of the

  proposed Settlement Class. The proposed Settlement Class is thus so numerous that joinder of all

  members is impracticable.



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               (b)       Commonality: “[C]ommonality requires the plaintiff to demonstrate that the

  class members ‘have suffered the same injury,’” and the plaintiff’s common contention “must be

  of such a nature that it is capable of classwide resolution – which means that determination of its

  truth or falsity will resolve an issue that is central to the validity of each one of the claims in one

  stroke. Wal-Mart Stores, Inc. v. Dukes, __ U.S. __, 131 S. Ct. 2541, 2551 (2011) (citation omitted).

  Here, the commonality requirement is satisfied. Multiple questions of law and fact centering on

  Defendant’s class-wide practices are common to the Plaintiff and the Settlement Class, are alleged

  to have injured all members of the Settlement Class in the same way, and would generate common

  answers central to the viability of the claims were this case to proceed to trial.

               (c)       Typicality: The Plaintiff’s claims are typical of the Settlement Class

  because they concern the same alleged Defendant’s practices, arise from the same legal theories,

  and allege the same types of harm and entitlement to relief. Rule 23(a)(3) is therefore satisfied.

  See Kornberg v. Carnival Cruise Lines, Inc., 741 F.2d 1332, 1337 (11th Cir. 1984) (typicality

  satisfied where claims “arise from the same event or pattern or practice and are based on the same

  legal theory”); Murray v. Auslander, 244 F.3d 807, 811 (11th Cir. 2001) (named plaintiffs are

  typical of the class where they “possess the same interest and suffer the same injury as the class

  members”).

               (d)       Adequacy: Adequacy under Rule 23(a)(4) relates to: (1) whether the

  proposed class representatives have interests antagonistic to the class; and (2) whether the

  proposed class counsel has the competence to undertake the litigation at issue. See Fabricant

  v. Sears Roebuck, 202 F.R.D. 310, 314 (S.D. Fla. 2001). Here, Rule 23(a)(4) is satisfied

  because there are no conflicts of interest between the Plaintiff and the Settlement Class, and

  Plaintiff has retained competent counsel to represent him and the Settlement Class. Class




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  Counsel regularly engage in consumer class litigation, complex litigation, and other litigation

  similar to this Action, and have dedicated substantial resources to the prosecution of the

  Action. Moreover, the Plaintiff and Class Counsel have vigorously and competently

  represented the Settlement Class in the Action. See Lyons v. Georgia-Pacific Corp. Salaried

  Employees Rel. Plan, 221 F.3d 1235, 1253 (11th Cir. 2000).

              (e)          Predominance and Superiority: Rule 23(b)(3) is satisfied because the

  common legal and alleged factual issues here predominate over individualized issues, and

  resolution of the common issues for the members of the Settlement Class in a single,

  coordinated proceeding is superior to thousands of individual lawsuits addressing the same legal

  and factual issues. With respect to predominance, Rule 23(b)(3) requires that “[c]ommon issues

  of fact and law . . . ha[ve] a direct impact on every class member’s effort to establish liability

  that is more substantial than the impact of individualized issues in resolving the claim or claims

  of each class member.” Sacred Heart Health Sys., Inc. v. Humana Military Healthcare Servs.,

  Inc., 601 F.3d 1159, 1170 (11th Cir. 2010) (internal quotation marks omitted). Here, common

  questions present a significant aspect of the case and can be resolved for all members of the

  Settlement Class in a single adjudication. In a liability determination, those common issues

  would predominate over any issues that are unique to individual members of the Settlement

  Class. Moreover, each member of the Settlement Class has claims that arise from the same or

  similar alleged Schumacher practices as well as the same legal theories.

         7.         The Court appoints Plaintiff, Jerry Eisenband, as Class Representative.

         8.         The Court appoints the following people and firms as Class Counsel: Scott A.

  Edelsberg of Edelsberg Law, P.A.; Andrew J. Shamis of Shamis and Gentile, P.A.; and Manuel S.

  Hiraldo of Hiraldo P.A.




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         9.      The Court recognizes that Defendant reserves all of its defenses and objections

  against and rights to oppose any request for class certification in the event that the proposed

  Settlement does not become Final for any reason. Defendant also reserves its defenses to the merits

  of the claims asserted in the event the Settlement does not become Final for any reason.

  Preliminary Approval of the Settlement

         10.     At the preliminary approval stage, the Court’s task is to evaluate whether the

  Settlement is within the “range of reasonableness.” 4 Newberg on Class Actions § 11.26.

  “Preliminary approval is appropriate where the proposed settlement is the result of the parties’

  good faith negotiations, there are no obvious deficiencies and the settlement falls within the

  range of reason.” Smith v. Wm. Wrigley Jr. Co., 2010 WL 2401149, at *2 (S.D. Fla. Jun. 15,

  2010). Settlement negotiations that involve arm’s length, informed bargaining with the aid of

  experienced counsel support a preliminary finding of fairness. See Manual for Complex

  Litigation, Third, § 30.42 (West 1995) (“A presumption of fairness, adequacy, and

  reasonableness may attach to a class settlement reached in arm's-length negotiations between

  experienced, capable counsel after meaningful discovery.”) (internal quotation marks omitted).

         11.     The Court preliminarily approves the Settlement, together with all exhibits

  thereto, as fair, reasonable, and adequate. The Court finds that the Settlement was reached in

  the absence of collusion, is the product of informed, good-faith, arm’s-length negotiations

  between the Parties and their capable and experienced counsel. The Court further finds that the

  Settlement, including the exhibits thereto, is within the range of reasonableness and possible

  judicial approval, such that: (a) a presumption of fairness is appropriate for the purposes of

  preliminary settlement approval; and (b) it is appropriate to effectuate notice to the Settlement

  Class, as set forth below and in the Settlement, and schedule a Final Approval Hearing to assist




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  the Court in determining whether to grant Final Approval to the Settlement and enter a Final

  Approval Order.

  Approval of Class Notice and the Claims Process

         12.     The Court approves the form and content of the Class notices, substantially in the

  forms attached as Exhibits 3 and 4 to the Settlement, and the Claim Form attached thereto as

  Exhibit 1. The Court further finds that the Class Notice program described in the Settlement is

  the best practicable under the circumstances. The Class Notice program is reasonably calculated

  under the circumstances to inform the Settlement Class of the pendency of the Action,

  certification of a Settlement Class, the terms of the Settlement, Class Counsel’s attorney’s fees

  application and the request for Service Award for Plaintiff, and their rights to opt-out of the

  Settlement Class or object to the Settlement. The Class notices and Class Notice program

  constitute sufficient notice to all persons entitled to notice. The Class notices and Class Notice

  program satisfy all applicable requirements of law, including, but not limited to, Federal Rule of

  Civil Procedure 23 and the Constitutional requirement of Due Process.

         13.     Epiq Class Action & Claims Solutions, Inc. shall serve as the Administrator.

         14.     The Administrator shall implement the Class Notice program, as set forth below

  and in the Settlement, using the Class notices substantially in the forms attached as Exhibits 3

  4 to the Settlement and approved by this Preliminary Approval Order. Notice shall be provided

  to the members of the Settlement Class pursuant to the Class Notice program, as specified in the

  Settlement and approved by this Preliminary Approval Order. The Class Notice program shall

  include, to the extent necessary, Mail Notice and Long-Form Notice, as set forth in the

  Settlement and below.




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         Mail Notice

         19.     The Administrator shall administer Mail Notice as set forth in the Settlement. Mail

  Notice shall be completed no later than 60 days after the entry of this order.

         Settlement Website

         24.     The Administrator shall establish a Settlement Website as a means for Settlement

  Class members to obtain notice of, and information about, the Settlement. The Settlement Website

  shall be established as soon as practicable following Preliminary Approval, but no later than before

  commencement of the Class Notice program. The Settlement Website shall include to the

  Settlement, the Long-Form Notice, the Preliminary Approval Order, and other such documents as

  Class Counsel and counsel for Defendant agree to include. These documents shall remain on the

  Settlement Website until at least sixty (60) days following the Claim Deadline.

         25.     The Administrator is directed to perform all substantive responsibilities with

  respect to effectuating the Class Notice program, as set forth in the Settlement.

  Final Approval Hearing, Opt-Outs, and Objections

         26.     A Final Approval Hearing shall be held before this Court on June 28, 2019 at 9:00

  a.m. to determine whether to grant Final Approval to the Settlement and to enter a Final Approval

  Order, and whether Class Counsel’s Fee Application and request for a Service Award for the Class

  Representative should be granted.

         27.     Any person within the Settlement Class who wishes to be excluded from the

  Settlement Class may exercise their right to opt-out of the Settlement Class by following the opt-

  out procedures set forth in the Settlement and in the Notices at any time during the Opt-Out Period.

  To be valid and timely, opt-out requests must be received by all those listed in the Long-Form




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  Notice on or before the last day of the Opt-out Period, which is 30 days before the Final Approval

  Hearing (“Opt-Out Deadline”), and mailed to the addresses indicated in the Long Form Notice.

         28.      Any Settlement Class Member may object to the Settlement, Class Counsel’s Fee

  Application, or the request for a Service Award for Plaintiff. Any such objections must be mailed

  to the Clerk of the Court, Class Counsel, and Schumacher’s Counsel, at the addresses indicated in

  the Long-Form Notice. For an objection to be considered by the Court, the objection must be

  postmarked no later than 30 days before the Final Approval Hearing, as set forth in the Notice. To

  be valid, an objection must include the following information:

         a. the name of the Action;

         b. the objector’s full name, address, and telephone number;

         c. an explanation of the basis upon which the objector claims to be a Settlement Class

               Member;

         d. all grounds for the objection, accompanied by any legal support for the objection

               known to the objector or his counsel;

         e. the number of times in which the objector has objected to a class action settlement

               within the five years preceding the date that the objector files the objection, the caption

               of each case in which the objector has made such an objection, and a copy of any orders

               related to or ruling upon the objector’s prior such objections that were issued by the

               trial and appellate courts in each listed case;

         f. the identity of all counsel who represent the objector, including any former or current

               counsel who may be entitled to compensation for any reason related to the objection to

               the Settlement or Fee Application;




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         g. a copy of any orders related to or ruling upon counsel’s or the counsel’s law firm’s

               prior objections made by individuals or organizations represented by that were issued

               by the trial and appellate courts in each listed case in which the objector’s counsel

               and/or counsel’s law firm have objected to a class action settlement within the

               preceding 5 years the objector’s counsel;

         h. any and all agreements that relate to the objection or the process of objecting— whether

               written or oral—between objector or objector’s counsel and any other person or entity;

         i. the identity of all counsel (if any) representing the objector who will appear at the Final

               Approval Hearing;

         j. a statement confirming whether the objector intends to personally appear and/or testify

               at the Final Approval Hearing;

         k. a list of all persons who will be called to testify at the Final Approval Hearing in support

               of the objection; and

         l. the objector’s signature (an attorney’s signature is not sufficient).

  Further Papers in Support of Settlement and Attorney’s Fee Application

         29.      Plaintiff and Class Counsel shall file their Motion for Final Approval of the

  Settlement, Fee Application and request for a Service Award for Plaintiff, no later than May 14,

  2019, which is 45 days before the Final Approval Hearing.

         30.      Plaintiff and Class Counsel shall file their responses to timely filed objections to

  the Motion for Final Approval of the Settlement, the Fee Application and/or request a Service

  Award for Plaintiff no later than June 13, 2019, which is 15 days before the Final Approval

  Hearing.

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  Effect of Failure to Approve Settlement

         32.         If the Settlement is not finally approved by the Court, or for any reason the Parties

  fail to obtain a Final Approval Order as contemplated in the Settlement, or the Settlement is

  terminated pursuant to its terms for any reason, then the following shall apply:

               (a)          All orders and findings entered in connection with the Settlement shall

  become null and void and have no further force and effect, shall not be used or referred to for any

  purpose whatsoever, and shall not be admissible or discoverable in any other proceeding;

               (b)          Nothing in this Preliminary Approval Order is, or may be construed as, any

  admission or concession by or against Schumacher or Plaintiff on any point of fact or law; and

               (c)          Neither the Settlement terms nor any publicly disseminated information

  regarding the Settlement, including, without limitation, the Class Notice, court filings, orders and

  public statements, may be used as evidence. In addition, neither the fact of, nor any documents

  relating to, either Party’s withdrawal from the Settlement, any failure of the Court to approve the

  Settlement and/or any objections or interventions may be used as evidence.

  Stay/Bar of Other Proceedings

         33.         All proceedings in the Action are stayed until further order of the Court, except as

  may be necessary to implement the terms of the Settlement. Pending final determination of whether

  the Settlement should be approved, Plaintiff, all persons in the Settlement Class, and persons

  purporting to act on their behalf are enjoined from commencing or prosecuting (either directly,

  representatively or in any other capacity) against any of the Released Parties any action or

  proceeding in any court, arbitration forum or tribunal asserting any of the Released Claims.

         37.     Based on the foregoing, the Court sets the following schedule for the Final Approval

  Hearing and the actions which must take place before and after it:




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               Event                       Date                      Timeline
   Deadline for Completion of       April 22, 2019       62 days after entry of the
   Notice                                                Preliminary Approval Order
   Deadline for filing Motion for   May 14, 2019
   Final Approval of the                                 45 days before the Final Approval
   Settlement and Class                                  Hearing
   Counsel’s Fee Application
   and expenses, and for a
   Service Award
   Deadline for opting-out of the   May 29, 2019         30 days before the Final Approval
   Settlement and for submission                         Hearing
   of Objections
   Deadline for Responses to        June 13, 2019        15 days before the Final Approval
   Objections                                            Hearing
                                    June 28, 2019
   Final Approval Hearing
   Last day Class Claimants may     July 15, 2019        17 days after the Final Approval
   submit a Claim Form                                   Hearing



         DONE and ORDERED in Chambers at Miami, Florida, this 19th day of February, 2019.




                                                     __________________________________
                                                     BETH BLOOM
                                                     UNITED STATES DISTRICT JUDGE



  Copies furnished to:


  Counsel of Record




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